                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

WINDY WATKINS                                     )
                                                  )
v.                                                )           No. 1:03-cr-230/1:11-cv-117
                                                  )           Chief Judge Curtis L. Collier
UNITED STATES OF AMERICA                          )
                                                  )

                                        MEMORANDUM

       Windy Watkins (“Watkins”) has filed a motion a motion to vacate, set aside, or correct her

sentence pursuant to 28 U.S.C. § 2255 (Criminal Court File No. 84).1 Watkins challenges her

sentence contending her prior conviction for arson does not qualify as a violent felony, and therefore

she did not qualify to be sentenced as an armed career criminal. Notably, Watkins raised this same

issue on direct appeal and the Court of Appeals for the Sixth Circuit affirmed her sentence,

concluding that her prior conviction for arson “may be counted as a ‘violent felony’ under the

ACCA.” (Criminal Court File No. 74).

       Nevertheless, after reviewing the record and the applicable law, the Court concludes

Watkins’ motion under 28 U.S.C. § 2255 will be DENIED as time-barred by the applicable one-year

statute of limitations (Criminal Court File No. 84).

I.     Background

       Watkins was sentenced to 185 months imprisonment in the custody of the United States

Bureau of Prisons after entering a plea of guilty to one count of being a felon in possession of a

firearm in violation of 18 U.S.C. § 922(g)(1) and 924(e). (Criminal Court File Nos. 68, 71). On

October 30, 2006, Watkins’ conviction and sentence were affirmed on direct appeal (Criminal Court


       1
              Each document will be identified by the Court File Number assigned to it in the
underlying criminal case.


Case 1:03-cr-00230-CLC-SKL           Document 85        Filed 07/15/11       Page 1 of 4      PageID
                                           #: 62
File No. 74). Watkins’ petition for a writ of certiorari was denied by the Supreme Court of the

United States on February 26, 2007 (Criminal Court File No. 77). Watkins subsequently filed this

instant § 2255 motion on April 26, 2011 (Criminal Court File No. 84).

II.    Statute of Limitations

       Pursuant to the Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”), there

is a one-year statute of limitation for filing a § 2255 motion. See 28 U.S.C. § 2255. “As a general

matter, a conviction becomes final for purposes of collateral attack at the conclusion of direct

review. If a § 2255 movant pursued his direct appeal through to a petition for certiorari in the

Supreme Court, direct review is concluded when the Supreme Court either denies the petition or

decides the case.” United States v. Cottage, 307 F.3d 494, 499 (6thCir. 2002) (internal citation

omitted). Therefore, Watkins’ judgment became final on February 26, 2007, when the Supreme

Court denied certiorari. The one-year statute of limitation for filing a § 2255 motion began to run

on February 27, 2007, and expired February 26, 2008.

       Watkins had one year from the time her judgment of conviction became final to file her

§ 2255 motion. A motion filed by a prisoner is deemed filed when given to the prison authorities

for mailing. In re Sims, 111 F.3d 45, 47 (6th Cir. 1997), citing Houston v. Lack, 487 U.S. 266, 270-

71 (1988); See Rule 4(c) Fed. R. App. Proc. It appears Watkins’ § 2255 motion was delivered to

prison authorities on April 26, 2011.

        Consequently, using the date of February 26, 2007, as the starting point for determining

when Watkins’ judgment became final and the statute of limitations began to run, her motion is

untimely. The one year statute of limitations under § 2255 expired on February 26, 2008, more than




                                                 2


Case 1:03-cr-00230-CLC-SKL           Document 85       Filed 07/15/11      Page 2 of 4      PageID
                                           #: 63
three years before Watkins filed her § 2255 motion. Since Watkins’ § 2255 motion was filed on

April 26, 2011, it is untimely and will be DENIED (Criminal Court File No. 84).

III.   Equitable Tolling Inapplicable

        Watkins submits that due to her “severe and toxic mental health issues” for which she is

continually medicated, she was unable to previously file this motion. According to Watkins, she is

now “focused and able to function so I am able to file this motion[.]” (Criminal Court File No. 84).

        Although mental incapacity of a § 2255 movant can warrant the equitable tolling of the

statute of limitations, mental incompetence is not a per se reason to toll a statute of limitations. See

McSwain v. Davis, 287 Fed.Appx. 450, 456 (6th Cir. 2008) (discussing application of equitable

tolling on the basis of mental incapacity in § 2254 cases), cert. denied, 129 S.Ct. 2824 (2009). “In

order to be entitled to equitable tolling the petitioner must make a threshold showing of

incompetence and must also demonstrate that the alleged incompetence affected her ability to file

a timely habeas petition.” Id. The Sixth Circuit has repeatedly made clear its view that “equitable

tolling relief should be granted only sparingly.” See Amini v. Oberlin College, 259 F.3d 493, 500

(6th Cir. 2001). Typically, equitable tolling applies only when a litigant’s failure to meet a

legally-mandated deadline unavoidably arose from circumstances beyond that litigant’s control.

Graham-Humphreys v. Memphis Brooks Museum, Inc., 209 F.3d 552, 560-61 (6th Cir. 2000).

Indeed, the United States Supreme Court has concluded that in order to demonstrate equitable tolling

is required, a party must show “that he has been pursuing his rights diligently” and that an

“extraordinary circumstance stood in his way and prevented timely filing.” Lawrence v. Florida,

549 U.S. 327, 336 (2007).




                                                   3


Case 1:03-cr-00230-CLC-SKL            Document 85         Filed 07/15/11      Page 3 of 4      PageID
                                            #: 64
       Although Watkins claims she suffers from mental health issues for which she received

medication, there is no evidence to support a causal connection between her mental health issues and

her ability to file a timely § 2255 petition. Indeed, in December of 2007, after Watkins was denied

certiorari and during which time she could have filed a timely § 2255 motion, she filed a pro se

motion to reduce her sentence based on the cocain base (“crack”) retroactive guideline amendment

notwithstanding her mental health issues (Criminal Court File No. 80). In addition, Watkins has

failed to submit any documentation to demonstrate the extent of her mental health issues. Thus,

there is no evidence her mental health issues prevented her from timely filing this § 2255 motion.

See Bilbrey v. Douglas, 124 Fed. Appx. 971, 973 (6th Cir.) (defendant who filed pro se pleadings

during time when she was most impaired failed to establish causal connection between her mental

condition and ability to file timely petition), cert. denied, 546 U.S. 942 (2005); Price v. Lewis, 119

Fed. Appx. 725, 727 (6th Cir.) (“The exceptional circumstances that would justify equitable tolling

on the basis of mental incapacity are not present when the party who seeks the tolling has been able

to pursue his or her legal claims during the period of his or her alleged mental incapacity”) (internal

punctuation and citations omitted), cert. denied, 546 U.S. 886 (2005). Accordingly, because

Watkins has failed to demonstrate her mental health issues actually prevented her from pursuing her

legal rights during the limitations period, equitable tolling is not appropriate in her case, her § 2255

motion will be DENIED as time-barred, and this action will be DISMISSED (Criminal Court File

No. 84).

       An appropriate judgment order will enter.

                                               /s/
                                               CURTIS L. COLLIER
                                               CHIEF UNITED STATES DISTRICT JUDGE


                                                   4


Case 1:03-cr-00230-CLC-SKL            Document 85         Filed 07/15/11      Page 4 of 4      PageID
                                            #: 65
